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 6                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 7
     A.S., individually and on behalf of all others similarly   Case No. 3:24-cv-1190-VC
 8 situated,
                                                                NOTICE OF VOLUNTARY
 9                                         Plaintiff,           DISMISSAL PURSUANT TO FED.
                                                                R. CIV. P. 41(a)
10      vs.

11 OPENAI LP, OPENAI INCORPORATED, OPENAI
     GP, LLC, OPENAI STARTUP FUND I, LP,
12 OPENAI STARTUP FUND GP I, LLC, OPENAI
     STARTUP FUND MANAGEMENT LLC,
13 MICROSOFT CORPORATION and DOES 1
     through 20, inclusive,
14
                                           Defendants.
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16
              PLEASE TAKE NOTICE THAT pursuant to Rule 41(a) of the Federal Rules of Civil
17
     Procedure, Plaintiff A.S, hereby voluntarily dismisses their claims in the above-captioned action,
18
     without prejudice and without fees or costs to any party, against all Defendants.
19
     DATED: May 30, 2024
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                                                   Respectfully Submitted,
21
                                                   GLANCY PRONGAY & MURRAY LLP
22
23                                                 By: s/ Kevin F. Ruf
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                                                                        Case No. 24-cv-1190-VC
                                                            NOTICE OF VOLUNTARY DISMISSAL.
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                                                         Case No. 24-cv-1190-VC
                                             NOTICE OF VOLUNTARY DISMISSAL.
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                                PROOF OF SERVICE

      I hereby certify that on this 30th day of May, 2024, a true and correct copy of the

foregoing document was served by CM/ECF to the parties registered to the Court’s CM/ECF

system.

                                               s/ Kevin F. Ruf
                                               Kevin F. Ruf
